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   _________________________________________________________________________________

                                                      SO ORDERED,



                                                      Judge Jason D. Woodard
                                                      United States Bankruptcy Judge


          The Order of the Court is set forth below. The case docket reflects the date entered.
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                    IN THE UNITED STATES BANKRUPTCY COURT FOR
                        THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                      CHAPTER 13 CASE NO.:
             JAMIE W. WREN                                                           19-15032-JDW

       ORDER DIRECTING EMPLOYER TO WITHHOLD DEDUCTIONS FROM PAY
               AND DIRECTING PAYMENT TO CHAPTER 13 TRUSTEE

        The above-named Debtor(s) filed a Chapter 13 Petition on 12/12/2019, which subjected all of the
Debtor’s wages, salary, or commissions to the jurisdiction of the Court while this case is pending. The
employer of the Debtor is subject to orders from this Court directing the employer to withhold and remit
a certain amount of the Debtor’s wages to the duly appointed Chapter 13 Trustee pursuant to 11 U.S.C. §
1325(c) in order to fund the Debtor’s Chapter 13 case.

       IT IS, THEREFORE, ORDERED, that ITS TECHNOLOGIES & LOGISTICS, 8205 S CASS
AVENUE, SUITE 115, GARNISHMENTS, DARIAN, IL 60561, the employer of the Debtor, is
hereby directed to pay to the Chapter 13 Trustee the sum of $ 891.50 BIWEEKLY commencing the
next pay period following receipt of this Order. All payments should be made payable to Locke D.
Barkley, Chapter 13 Trustee, P.O. Box 1859, Memphis, TN, 38101-1859.

       IT IS FURTHER ORDERED, that ITS TECHNOLOGIES & LOGISTICS is hereby directed
to withhold said sum from the Debtor’s wages, after deducting the amount necessary to pay withholding
and Social Security taxes, pensions, union dues (if any), retirement contributions, or child support
deductions, and to remit said sum to the Chapter 13 Trustee.

       IT IS FURTHER ORDERED, that ITS TECHNOLOGIES & LOGISTICS shall immediately
cease and discontinue withholding and remitting any funds to pay any wage garnishments.

        IT IS FURTHER ORDERED, that ITS TECHNOLOGIES & LOGISTICS shall withhold and
remit said sum to the Chapter 13 Trustee until further order of this Court.

                                        ##END OF ORDER##
